               Case 6:06-cr-00026-JRH-CLR Document 1582 Filed 05/22/15 Page 1 of 1

AO24?004D                Motionfof Sentence
            OrderResardins                R€ducrion     ro 18U.S.C $ 3582(0)(2)
                                                  Pursuant                                                               forPDblic D$closure)


                                                                                                                    ]I COURT
                                                   UNITED STATESDISTRICTCoURT
                                                                                                           AUS{ISA OIV.
                                                              for the
                                                                                                     ?Br5
                                                                                                       ilAY22 Pll2:59
                                                        SouthemDistrict of Georgia
                                                           Statesboro Division                                      C9'-r'\4
                   United Statesof America
                              v,
                                                                           CaseNo: 6:06CR00026-4
                          CharlesWillis
                                                                           USMNo: 62406-061
DateofOriginal Judgment:        October22. 2009                            LanceJ. Hamilton
DateofPreviousAmendedJudgment:                                             Defendant'sAttomey
(tJseDateofLast AmendedJudgmentif Any)

                        Ord€r RegardingMotion for SentenceReductionPursuantto 18 U.S'C.$ 3582(cX2)

       Uponmotionof @,h. d"f.rrd-, f theDirectorof theBureauof Prison,                !th.              18U.S.C.
                                                    imposed
                                         imprisonment        basedon a guideline
                                                                               sentencing     "oununder
                                                                                          range thathassubsequently
                                                                                                                 been
$ 3582(c)(2)for a reductionin theterm of
loweredandmaderetroactiveby the UnitedStatesSentencing   Commission  pusuantto 28 U.S.C
g 994(u),andhavingconsidered                                                      setforth at USSG$ 1B1.10aadthe
                                suchmotion,andtakinginto accountthepolicy statement
sentencingfactorssetforth in 18U.S.C.S 3553(a),to theextentthattheyareapplicable,

IT IS ORDEREDthatthe motionis;
                                          previouslyimposedsentence            (dsre|lected
                                                                  of imprisonmenl        in thelasliudgment
 LIDENIED. LXI GRANTEDandthedefendant's
               issued)
                    of !)-     monthsis reducedto                  time serued


                                          (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwiseprovided above,all provisions ofthejudgment dated
IT IS SO ORDERED.




                                                                           DudleyH. Bowen,Jr.
        Date: November
Effective                   1.2015                                         UnitedStatesDistrictJudse
               (if dffirent fron ortJerdate)                                               P fited name and title
